                                                                       "'"-'•~-•••,-,,"'•
                                            Case 2:20-cv-11181-CAS-JPR Document     66-4 ,·r....,.,..,.,.,,""
                                                                                           Filed 11/01/21 Page 1 of 14 Page ID
                                                                             ...,""' ............ ...,.     IT   -.- ......   " " ...


                                                                                 #:1223
Neman lkotllers &Assoc., Inc.
         ~                                                                                                                                           PURCHASE
                                                                                                                                                     PURCHASE CONTRACT
neman [1]
neman [1]                                                                                                                                                           ## 40793
                                                                                                                                                                       40793
1525 Sou
     South  Broadway SHeet
                     Street
1525     th Broadway                                                                                                                                               02/ 10/17
                                                                                                                                                                   02/10/17
Los A"~ele5,
LOS Angeles, CJ
             Ca 900
                90015
                    15                                                                                                                                           NEW
                                                                                                                                                                 NEW ORDER
                                                                                                                                                                     ORDER
Tel: {1l3
Tel'        765-0100 I/ FFax:
     {213)) 765·0100           {213) 765-0220
                          ~ x: {11317 65-DIIO



SUPPLIER
SUPPUER                                                                                                   SHIP
                                                                                                          SHI   TO
                                                                                                              P TO




                  ,SHAOXING COUNTY.
                  SHAOXING  COUNTY,                                                                       Indu
                                                                                                          Industrial  Zone S,nh
                                                                                                               ltr iallone Binh Titn
                                                                                                                                Tan Dlst
                                                                                                                                     Dist
ZHEJIANG  PROVINCE, CHINA
                    CHINA
                                                                                                                                                                                     Exhibit




                                                                                                                                                                                                    exhibitsticker.com
ZHEJIA NG PROVINCE,                                                                                       HeM
                                                                                                          HCM Gty,
                                                                                                              c;ty, Vietnam
ZIPCODE: 312030
ZIPCODL 312030                                                                                            ATtn, Ms Ha
                                                                                                          ATtn:    Hann
Tel:
Te l: 85589667   Fax: 84137806
      85589567// Fax: 84137806                                                                            Te l: 754-2161
                                                                                                          Tel:             f~ x : 754-2391
                                                                                                                754-21611/ fax:   754-1391
                                                                                                                                                                                   Neman 13
                                                                                                                                                                                    10/20/2021 ME
  SHIPPING
  SHIPPING DATE
           DATE {XCO)
                (xeo)                AGENT/SALESPERSON
                                     AGENT/SALESPERSON                  TERMS                                     SHIP VIA              I DEST CITY/PORT
                                                                                                                                               ClTYIPORT I
03/04/ 17                          HOUSE ACCOUNT

                                 I       ACCO UNT         T/ T                                            BOAT                            VIETNAM
                                           SALES
                                           SALES ORDER
                                                 ORDER                  liC.
                                                                        l/C#                                                                         mlM,;I
                                                                                                                                            SHIPPING TERMS

                                   284504                 0                                                                               CIF
            STYLE#                              COLOR                DESCRIPTION                                 QUANTITY               I       UNIT PRICE       AMOUNT
                                                                                                                                                                               ~         "•J
54048-20335                        135EGGSH/GARNET
                                                          196%POLY
                                                           96%POLY 4%SPAN
                                                                   4%SPAN BULLET
                                                                          BULLET KNIT
                                                                                 KNIT                                                                                          ~ ~.'\ ~~-
54048-20335                        135EGGSH/GAR NET                                                                                3000
                                                                                                                                   3000                      i                 0:M-- 1
                                                          PRINT
                                                          PRINT 200GSM
                                                                200GS M CUT:57 /58" 58/60"
                                                                        CUT:5 7/58" 58/60"

                                                                                                                     --
                                                          96%POLY
                                                          96%POLY 4%SPAN
                                                                  4%SPAN BULLET
                                                                         BU LLET KNIT
                                                                                 KNIT
54048-20335
54048-203 35                       830TRCTTA/MAUVE
                                   830TRCTTA/MAUVE                                                                                 3000
                                                                                                                                   3000
                                                          PRINT  200GSM CUT:57/58"
                                                          PR INT 200GSM ( UT:57/58" 58/60"
                                                                                    58/60 "



                                                          96%POLY
                                                          96 %POLY 4%SPAN
                                                                   4%SPAN BULLET
                                                                          BULLET KNIT
                                                                                 KNIT
54048-20335
54048-20335                        937BLK/ROSEPETA
                                   937BLK/ROS EP ETA                                                                               3500 1
                                                                                                                                   35001
                                                          PRINT 200GSM
                                                          PRINT 200GS M CUT:57/58"
                                                                        CUT: 57158" 58/60"
                                                                                    58/60"


                                                                                                                                  9500
                                                                                                                                  9500

NOTES/
NOTES / INSTRUCTIONS
         INSTRUCTIONS


               ATTORNEY EYES ONLY                                                                                                                                              NB163
                                                               ....,,..,,, .. I I I r , . ' - ' e   lT '"'TUii ...,._,,
                                    Case 2:20-cv-11181-CAS-JPR Document 66-4 Filed 11/01/21 Page 2 of 14 Page ID
                                                                     #:1224
Neman
                                                                                                                          PURCHASE CONTRACT
NOTICE; C PYRIGHTED BY iMAf\' BROTHERS & ASSOC
Pis rush 5 ff
Pis send 3 ds   5/5 to   LA for approval
Allowance +/3%
SIZE RA T!


NO PAY       NT WILL BE M~.DE
             NTWILl     M DE UNLESS THIS CONTRACT#
                                         CONTRACTU APPEARS ON THE INVOICE




             ATTORNEY
             . --_._-- -
                 . __ ..
                         EYES ONLY
                             -        -
                                                                                                                                              NB164      -   ~   .
                                                                                                                                                i ll I
                        Case 2:20-cv-11181-CAS-JPR Document 66-4 Filed 11/01/21 Page
                                                                              E L E 3CofT14R Page
                                                                                             O NIDI                                                              C
                                                         #:1225
                                                                                                       +8RTW3
                                                                                                                    RECEIVE GOODS
                                                                                                                    #73552
                                                                                                                    DATE : 04/17/17
                                                                                                                    TYPE : DETAILED
1525 South Broadway Street Los Angeles, Ca 90015                                                                                    Tel: (213) 765-0100 Fax: (213) 765-0220
                                                                                                                                                          info@neman.com

                                                               W                R
           S                                                                    E                                                                               Exhibit




                                                                                                                                                                               exhibitsticker.com
           U                                                   A                C
           P                                                   R                E              An Thuong Village Nam Chinh Commun
                                                               E                I
           P                       SHAOXING COUNTY,            H                V
                                                                                               Nam Sach District, Hai Duong Provi                           Neman 16
           L
           I       ZHEJIANG PROVINCE, CHINA                    O                E                                                                              10/20/2021 ME
                                                               U                D
           E       ZIPCODE: 312030
           R                                                   S
                                                             A
                   TEL 011865758558966 / FAX 011865758413780 T E

                 REF NUMBER                              SHIP VIA                     CUST PO #                         SCHEDULED ARRIVAL           STAMPED DATE
                                             BOAT                                                                   04/12/17                    04/17/17
                 CONTRACT #                      CONTRACT MODEL              CONTRACT DATE                               DAYS IN TRANSIT            DAYS LATE         ∩
      40982                                  OFF-SHORE                    03/03/17                                  45                          5
      N                                                                                                                              INTENDED FOR
      O     
      T                                                                                                            SALES ORDER # 285588
      E     
      S                                                                                                            S&J


☞ TOTAL IN RCVG                                  :         35,969      QTY                        308           PIECES              63   BOXES             1    LOTS


   ACTUAL RECEIVED                               :                     QTY                                      PIECES                   BOXES                  LOTS
                   {checked by hand}




➊ Style # :             1269-20355           Color : 336MAUVE/NDROSE                           BOX #            LOT #      ROLL #    QUANTITY                      ROLL-ID
           Desc :       100%POLY HI MULTI CHIFFON PRINT 70GSM C:57"                        6                              5                0                     30056118
                                                                                           7                              6                0                     30056119
           BOX #        LOT #       ROLL #     QUANTITY               ROLL-ID              7                              7                0                     30056120
    1                           1                    0               30056092              7                              8                0                     30056121
    1                           2                    0               30056093              7                              9                0                     30056122
    1                           3                    0               30056094              7                              10               0                     30056123
    1                           4                    0               30056095              8                              11               0                     30056124
    1                           5                    0               30056096              8                              12               0                     30056125
    2                           6                    0               30056097              8                              13               0                     30056126
    2                           7                    0               30056098              8                              14               0                     30056127
    2                           8                    0               30056099              8                              15               0                     30056128
    2                           9                    0               30056100              9                              16               0                     30056129
    2                           10                   0               30056101              9                              17               0                     30056130
    3                           11                   0               30056102              9                              18               0                     30056131
    3                           12                   0               30056103              9                              19               0                     30056132
    3                           13                   0               30056104              9                              20               0                     30056133
    3                           14                   0               30056105              9                              21               0                     30056134
    3                           15                   0               30056106
    4
    4
                                16
                                17
                                                     0
                                                     0
                                                                     30056107
                                                                     30056108
                                                                                                  TOTAL           ➫       21               0

    4                           18                   0               30056109
    4
    5
                                19
                                20
                                                     0
                                                     0
                                                                     30056110
                                                                     30056111
                                                                                        ➌ Style # :             1269-20150           Color : 931BLK/MAUVE
    5                           21                   0               30056112
                                                                                                Desc :          100%POLY HI MULTI CHIFFON PRINT 70GSM C:57"
    5                           22                   0               30056113
                                                                                               BOX #            LOT #      ROLL #    QUANTITY                      ROLL-ID
                TOTAL     ➫     22                   0                                     10
                                                                                           10
                                                                                                                          1
                                                                                                                          2
                                                                                                                                           0
                                                                                                                                           0
                                                                                                                                                                 30056135
                                                                                                                                                                 30056136
                                                                                           10                             3                0                     30056137
➋ Style # :             1269-20355           Color : 739HGREEN/RSQTZ                       10
                                                                                           10
                                                                                                                          4
                                                                                                                          5
                                                                                                                                           0
                                                                                                                                           0
                                                                                                                                                                 30056138
                                                                                                                                                                 30056139
           Desc :       100%POLY HI MULTI CHIFFON PRINT 70GSM C:57"                        11                             6                0                     30056140
                                                                                           11                             7                0                     30056141
           BOX #        LOT #       ROLL #     QUANTITY               ROLL-ID              11                             8                0                     30056142
    6                           1                    0               30056114              11                             9                0                     30056143
    6                           2                    0               30056115              11                             10               0                     30056144
    6                           3                    0               30056116              12                             11               0                     30056145
    6                           4                    0               30056117              12                             12               0                     30056146



                                                                    User : Adrineh Mokhtarias
      ☞         Page # 1 of 4                                                                                           --- CONTINUED ON NEXT PAGE ---
                        ATTORNEY EYES ONLY                                                                                               NB 641
                                                                    October 11, 2021 @ 5:36:37 PM
                                                                    MOD2 ID # 1298451
prlogall                                                                      2021   MOD2 INC.
                     Case 2:20-cv-11181-CAS-JPR Document 66-4 Filed 11/01/21 Page
                                                                           E L E 4CofT14R Page
                                                                                          O NIDI                                                    C
                                                      #:1226
                                                                                            +8RTW3
                                                                                                         RECEIVE GOODS
                                                                                                         #73552
                                                                                                         DATE : 04/17/17
                                                                                                         TYPE : DETAILED
1525 South Broadway Street Los Angeles, Ca 90015                                                                        Tel: (213) 765-0100 Fax: (213) 765-0220
                                                                                                                                              info@neman.com


➌ (continued from previous page)
  Style # : 1269-20150                          Color :
                                                  931BLK/MAUVE                      BOX #            LOT #     ROLL #   QUANTITY                     ROLL-ID

           Desc :    100%POLY HI MULTI CHIFFON PRINT 70GSM C:                     24                          6                0                    30056204
                                                                                  24                          7                0                    30056205
                                                                                  24                          8                0                    30056206
           BOX #     LOT #       ROLL #   QUANTITY           ROLL-ID              24                          9                0                    30056207
    12                       13                 0           30056147              24                          10               0                    30056208
    12                       14                 0           30056148              25                          11               0                    30056209
    12                       15                 0           30056149              25                          12               0                    30056210
    13                       16                 0           30056150              25                          13               0                    30056211
    13                       17                 0           30056151              25                          14               0                    30056212
    13                       18                 0           30056152              25                          15               0                    30056213
    13                       19                 0           30056153              26                          16               0                    30056214
    13                       20                 0           30056154              26                          17               0                    30056215
    14                       21                 0           30056155              26                          18               0                    30056216
    14                       22                 0           30056156              26                          19               0                    30056217
    14                       23                 0           30056157              26                          20               0                    30056218
    14                       24                 0           30056158              27                          21               0                    30056219
    14                       25                 0           30056159              27                          22               0                    30056220
    15                       26                 0           30056160              27                          23               0                    30056221
    15                       27                 0           30056161              27                          24               0                    30056222
    15                       28                 0           30056162              27                          25               0                    30056223
    15                       29                 0           30056163              28                          26               0                    30056224
    15                       30                 0           30056164              28                          27               0                    30056225
    16                       31                 0           30056165              28                          28               0                    30056226
    16                       32                 0           30056166              29                          29               0                    30056227
    16                       33                 0           30056167              29                          30               0                    30056228
    16                       34                 0           30056168              29                          31               0                    30056229
             TOTAL     ➫     34                 0                                        TOTAL         ➫      31               0


➍ Style # :          1269-20150           Color : 315DTYPINK/IVRY              ➏ Style # :           1269-20335           Color : 487MBLUE/TRCTTA
           Desc :    100%POLY HI MULTI CHIFFON PRINT 70GSM C:57"                       Desc :        100%POLY HI MULTI CHIFFON PRINT 70GSM C:57"
           BOX #     LOT #       ROLL #   QUANTITY           ROLL-ID                BOX #            LOT #     ROLL #   QUANTITY                     ROLL-ID
    17                       1                  0           30056169              30                          1                0                    30056230
    17                       2                  0           30056170              30                          2                0                    30056231
    17                       3                  0           30056171              30                          3                0                    30056232
    17                       4                  0           30056172              30                          4                0                    30056233
    17                       5                  0           30056173              30                          5                0                    30056234
    18                       6                  0           30056174              31                          6                0                    30056235
    18                       7                  0           30056175              31                          7                0                    30056236
    18                       8                  0           30056176              31                          8                0                    30056237
    18                       9                  0           30056177              31                          9                0                    30056238
    18                       10                 0           30056178              31                          10               0                    30056239
    19                       11                 0           30056179              32                          11               0                    30056240
    19                       12                 0           30056180              32                          12               0                    30056241
    19                       13                 0           30056181              32                          13               0                    30056242
    19                       14                 0           30056182              32                          14               0                    30056243
    19                       15                 0           30056183              32                          15               0                    30056244
    20                       16                 0           30056184              33                          16               0                    30056245
    20                       17                 0           30056185              33                          17               0                    30056246
    20                       18                 0           30056186              33                          18               0                    30056247
    20                       19                 0           30056187              33                          19               0                    30056248
    20                       20                 0           30056188              33                          20               0                    30056249
    21                       21                 0           30056189              34                          21               0                    30056250
    21                       22                 0           30056190              34                          22               0                    30056251
    21                       23                 0           30056191              34                          23               0                    30056252
    21                       24                 0           30056192              34                          24               0                    30056253
    21                       25                 0           30056193
    22
    22
                             26
                             27
                                                0
                                                0
                                                            30056194
                                                            30056195
                                                                                         TOTAL         ➫      24               0

    22                       28                 0           30056196
    22
    22
                             29
                             30
                                                0
                                                0
                                                            30056197
                                                            30056198
                                                                               ➐ Style # :           1269-20335           Color : 437RYNAVY/CORAL
                                                                                       Desc :        100%POLY HI MULTI CHIFFON PRINT 70GSM C:57"
             TOTAL     ➫     30                 0
                                                                                    BOX #            LOT #     ROLL #   QUANTITY                     ROLL-ID
                                                                                  35                          1                0                    30056254
➎ Style # :          1269-20150           Color : 138IVORY/MAUVE                  35
                                                                                  35
                                                                                                              2
                                                                                                              3
                                                                                                                               0
                                                                                                                               0
                                                                                                                                                    30056255
                                                                                                                                                    30056256
           Desc :    100%POLY HI MULTI CHIFFON PRINT 70GSM C:57"                  35                          4                0                    30056257
                                                                                  35                          5                0                    30056258
           BOX #     LOT #       ROLL #   QUANTITY           ROLL-ID              36                          6                0                    30056259
    23                       1                  0           30056199              36                          7                0                    30056260
    23                       2                  0           30056200              36                          8                0                    30056261
    23                       3                  0           30056201              36                          9                0                    30056262
    23                       4                  0           30056202              36                          10               0                    30056263
    23                       5                  0           30056203              37                          11               0                    30056264



                                                           User : Adrineh Mokhtarias
      ☞       Page # 2 of 4                                                                                  --- CONTINUED ON NEXT PAGE ---
                     ATTORNEY EYES ONLY                                                                                      NB 642
                                                           October 11, 2021 @ 5:36:37 PM
                                                           MOD2 ID # 1298451
prlogall                                                             2021   MOD2 INC.
                     Case 2:20-cv-11181-CAS-JPR Document 66-4 Filed 11/01/21 Page
                                                                           E L E 5CofT14R Page
                                                                                          O NIDI                                                   C
                                                      #:1227
                                                                                           +8RTW3
                                                                                                        RECEIVE GOODS
                                                                                                        #73552
                                                                                                        DATE : 04/17/17
                                                                                                        TYPE : DETAILED
1525 South Broadway Street Los Angeles, Ca 90015                                                                       Tel: (213) 765-0100 Fax: (213) 765-0220
                                                                                                                                             info@neman.com


➐ (continued from previous page)
  Style # : 1269-20335                       Color :
                                                  437RYNAVY/CORAL                  BOX #            LOT #     ROLL #   QUANTITY                     ROLL-ID

           Desc :    100%POLY HI MULTI CHIFFON PRINT 70GSM C:                    48                          20               0                    30056322
                                                                                 49                          21               0                    30056323
                                                                                 49                          22               0                    30056324
           BOX #     LOT #    ROLL #   QUANTITY             ROLL-ID              49                          23               0                    30056325
    37                       12              0             30056265              49                          24               0                    30056326
    37                       13              0             30056266              49                          25               0                    30056327
    37                       14              0             30056267              50                          26               0                    30056328
    37                       15              0             30056268              50                          27               0                    30056329
    38                       16              0             30056269              50                          28               0                    30056330
    38                       17              0             30056270              50                          29               0                    30056331
    38                       18              0             30056271              50                          30               0                    30056332
    38                       19              0             30056272              51                          31               0                    30056333
    39                       20              0             30056273              51                          32               0                    30056334
    39                       21              0             30056274              51                          33               0                    30056335
    39                       22              0             30056275              51                          34               0                    30056336
    39                       23              0             30056276              51                          35               0                    30056337
                                                                                 51                          36               0                    30056338
             TOTAL     ➫     23              0
                                                                                        TOTAL         ➫      36               0

➑ Style # :          1269-20335           Color : 337OXBLOOD/MAUV
           Desc :    100%POLY HI MULTI CHIFFON PRINT 70GSM C:57"              ➓ Style # :           1269-17024           Color : 237SHELL/CHERRY
                                                                                      Desc :        100%POLY HI MULTI CHIFFON PRINT 70GSM C:57"
           BOX #     LOT #    ROLL #   QUANTITY             ROLL-ID
                                                                                   BOX #            LOT #     ROLL #   QUANTITY                     ROLL-ID
    40                       1               0             30056277
    40                       2               0             30056278              52                          1                0                    30056339
    40                       3               0             30056279              52                          2                0                    30056340
    40                       4               0             30056280              52                          3                0                    30056341
    40                       5               0             30056281              52                          4                0                    30056342
    41                       6               0             30056282              52                          5                0                    30056343
    41                       7               0             30056283              53                          6                0                    30056344
    41                       8               0             30056284              53                          7                0                    30056345
    41                       9               0             30056285              53                          8                0                    30056346
    41                       10              0             30056286              53                          9                0                    30056347
    42                       11              0             30056287              53                          10               0                    30056348
    42                       12              0             30056288              54                          11               0                    30056349
    42                       13              0             30056289              54                          12               0                    30056350
    42                       14              0             30056290              54                          13               0                    30056351
    42                       15              0             30056291              54                          14               0                    30056352
    43                       16              0             30056292              54                          15               0                    30056353
    43                       17              0             30056293              55                          16               0                    30056354
    43                       18              0             30056294              55                          17               0                    30056355
    43                       19              0             30056295              55                          18               0                    30056356
    43                       20              0             30056296              55                          19               0                    30056357
    44                       21              0             30056297              55                          20               0                    30056358
    44                       22              0             30056298              56                          21               0                    30056359
    44                       23              0             30056299              56                          22               0                    30056360
    44                       24              0             30056300              56                          23               0                    30056361
    44                       25              0             30056301              56                          24               0                    30056362
    44                       26              0             30056302              56                          25               0                    30056363
                                                                                 57                          26               0                    30056364
             TOTAL     ➫     26              0                                   57
                                                                                 57
                                                                                                             27
                                                                                                             28
                                                                                                                              0
                                                                                                                              0
                                                                                                                                                   30056365
                                                                                                                                                   30056366
                                                                                 57                          29               0                    30056367
➒ Style # :          1269-17024           Color : 486NAVY/ORANGE                 57
                                                                                 57
                                                                                                             30
                                                                                                             31
                                                                                                                              0
                                                                                                                              0
                                                                                                                                                   30056368
                                                                                                                                                   30056369
           Desc :    100%POLY HI MULTI CHIFFON PRINT 70GSM C:57"
           BOX #     LOT #    ROLL #   QUANTITY             ROLL-ID
                                                                                        TOTAL         ➫      31               0

    45                       1               0             30056303
    45
    45
                             2
                             3
                                             0
                                             0
                                                           30056304
                                                           30056305
                                                                              ➠ Style # :           1269-17024           Color : 732SAGE/MAUVE
    45                       4               0             30056306
                                                                                      Desc :        100%POLY HI MULTI CHIFFON PRINT 70GSM C:57"
    45                       5               0             30056307
                                                                                   BOX #            LOT #     ROLL #   QUANTITY                     ROLL-ID
    46                       6               0             30056308
    46                       7               0             30056309              58                          1                0                    30056370
    46                       8               0             30056310              58                          2                0                    30056371
    46                       9               0             30056311              58                          3                0                    30056372
    46                       10              0             30056312              58                          4                0                    30056373
    47                       11              0             30056313              58                          5                0                    30056374
    47                       12              0             30056314              59                          6                0                    30056375
    47                       13              0             30056315              59                          7                0                    30056376
    47                       14              0             30056316              59                          8                0                    30056377
    47                       15              0             30056317              59                          9                0                    30056378
    48                       16              0             30056318              59                          10               0                    30056379
    48                       17              0             30056319              60                          11               0                    30056380
    48                       18              0             30056320              60                          12               0                    30056381
    48                       19              0             30056321              60                          13               0                    30056382



                                                          User : Adrineh Mokhtarias
      ☞       Page # 3 of 4                                                                                 --- CONTINUED ON NEXT PAGE ---
                     ATTORNEY EYES ONLY                                                                                     NB 643
                                                          October 11, 2021 @ 5:36:37 PM
                                                          MOD2 ID # 1298451
prlogall                                                            2021   MOD2 INC.
                     Case 2:20-cv-11181-CAS-JPR Document 66-4 Filed 11/01/21 Page
                                                                           E L E 6CofT14R Page
                                                                                          O NIDI                                    C
                                                      #:1228
                                                                                        +8RTW3
                                                                                                 RECEIVE GOODS
                                                                                                 #73552
                                                                                                 DATE : 04/17/17
                                                                                                 TYPE : DETAILED
1525 South Broadway Street Los Angeles, Ca 90015                                                        Tel: (213) 765-0100 Fax: (213) 765-0220
                                                                                                                              info@neman.com


➠ (continued from previous page)
  Style # : 1269-17024                    Color : 732SAGE/MAUVE
           Desc :    100%POLY HI MULTI CHIFFON PRINT 70GSM C:
           BOX #     LOT #    ROLL #   QUANTITY             ROLL-ID
    60                       14              0             30056383
    60                       15              0             30056384
    61                       16              0             30056385
    61                       17              0             30056386
    61                       18              0             30056387
    61                       19              0             30056388
    61                       20              0             30056389
    62                       21              0             30056390
    62                       22              0             30056391
    62                       23              0             30056392
    62                       24              0             30056393
    62                       25              0             30056394
    63                       26              0             30056395
    63                       27              0             30056396
    63                       28              0             30056397
    63                       29              0             30056398
    63                       30              0             30056399
             TOTAL     ➫     30              0




                                                          User : Adrineh Mokhtarias                    TOTAL:
      ☞       Page # 4 of 4
                     ATTORNEY EYES ONLY                                                                      NB 644
                                                          October 11, 2021 @ 5:36:37 PM
                                                          MOD2 ID # 1298451
prlogall                                                            2021   MOD2 INC.
                      Case 2:20-cv-11181-CAS-JPR Document 66-4 Filed 11/01/21 Page
                                                                            E L E 7CofT14R Page
                                                                                           O NIDI                                                                             C
                                                       #:1229
                                                                                                                                  RECEIVE GOODS
                                                                        Exhibit




                                                                                              exhibitsticker.com
                                                                                                                     +8T45C


                                                                                                                                  #77052
                                                                     Neman 22                                                     DATE : 01/12/18
                                                                       10/20/2021 ME
                                                                                                                                  TYPE : DETAILED
1525 South Broadway Street Los Angeles, Ca 90015                                                                                                  Tel: (213) 765-0100 Fax: (213) 765-0220
                                                                                                                                                                        info@neman.com

                                                               W            R
           S                                                                E
           U                                                   A            C
           P                                                   R            E
                                                               E            I
           P                       SHAOXING COUNTY,            H            V
                                                                                         Q12, HCMC, Vietnam
           L
           I       ZHEJIANG PROVINCE, CHINA                    O            E            Port Of Discharge: Cat Lai Port
                                                               U            D
           E       ZIPCODE: 312030                                                       Mobile: 0908 599 836
           R                                                   S
                                                             A
                   TEL 011865758558966 / FAX 011865758413780 T E

                REF NUMBER                           SHIP VIA                     CUST PO #                                           SCHEDULED ARRIVAL          STAMPED DATE
                                         BOAT                                                                                     01/12/18                    01/11/18
                CONTRACT #                   CONTRACT MODEL              CONTRACT DATE                                                 DAYS IN TRANSIT           DAYS EARLY       ∪
      43242                              OFF-SHORE                    12/14/17                                                    29                          Just in time!
      N                                                                                                                                            INTENDED FOR
      O     
      T                                                                                                                          SALES ORDER # 298106
      E     
      S                                                                                                                          Jiya A. Yoo-DBA- Monteau Inc.


☞ TOTAL IN RCVG                              :         3,768       QTY                                             39         PIECES              19   BOXES             1    LOTS


   ACTUAL RECEIVED                           :                     QTY                                                        PIECES                   BOXES                  LOTS
                   {checked by hand}




➊ Style # :            2320-20419           Color : 434IBLUE/FUSCHI                      BOX #                                LOT #      ROLL #    QUANTITY                    ROLL-ID
           Desc :      97%C 3%SP STRETCH POPLIN PRINT 115GSM C:57/58"                  18                                               35               0                    30616526
                                            Vendor # ZX-35-2-B                         18                                               36               0                    30616527
                                                                                       19                                               37               0                    30616528
           BOX #      LOT #     ROLL #     QUANTITY               ROLL-ID              19                                               38               0                    30616529
    1                         1                  0               30616492              19                                               39               0                    30616530
    1                         2                  0               30616493
    2
    2
                              3
                              4
                                                 0
                                                 0
                                                                 30616494
                                                                 30616495
                                                                                                                   TOTAL        ➫       39               0

    3                         5                  0               30616496
    3                         6                  0               30616497
    4                         7                  0               30616498
    4                         8                  0               30616499
    5                         9                  0               30616500
    5                         10                 0               30616501
    6                         11                 0               30616502
    6                         12                 0               30616503
    7                         13                 0               30616504
    7                         14                 0               30616505
    8                         15                 0               30616506
    8                         16                 0               30616507
    9                         17                 0               30616508
    9                         18                 0               30616509
    10                        19                 0               30616510
    10                        20                 0               30616511
    11                        21                 0               30616512
    11                        22                 0               30616513
    12                        23                 0               30616514
    12                        24                 0               30616515
    13                        25                 0               30616516
    13                        26                 0               30616517
    14                        27                 0               30616518
    14                        28                 0               30616519
    15                        29                 0               30616520
    15                        30                 0               30616521
    16                        31                 0               30616522
    16                        32                 0               30616523
    17                        33                 0               30616524
    17                        34                 0               30616525



                                                                User : Adrineh Mokhtarias                                                         TOTAL:
                      ATTORNEY EYES ONLY                                                                                                               NB 686
                                                                October 12, 2021 @ 12:46:15 PM
                                                                MOD2 ID # 1358400
prlogall                                                                  2021   MOD2 INC.
                        Case 2:20-cv-11181-CAS-JPR Document 66-4 Filed 11/01/21 Page
                                                                              E L E 8CofT14R Page
                                                                                             O NIDI                                                                             C
                                                         #:1230
                                                                                                                           +8T0B5
                                                                                                                                      RECEIVE GOODS
                                                                                  Exhibit                                             #76740




                                                                                                      exhibitsticker.com
                                                                               Neman 23                                               DATE : 12/12/17
                                                                                 10/20/2021 ME
                                                                                                                                      TYPE : DETAILED
1525 South Broadway Street Los Angeles, Ca 90015                                                                                                    Tel: (213) 765-0100 Fax: (213) 765-0220
                                                                                                                                                                          info@neman.com

                                                               W                    R
           S                                                                        E
           U                                                   A                    C
           P                                                   R                    E
                                                               E                    I
           P                       SHAOXING COUNTY,            H                    V
           L
           I       ZHEJIANG PROVINCE, CHINA                    O                    E            Panyu Dist, GuangZhou City, China
                                                               U                    D
           E       ZIPCODE: 312030                                                               Simon H/P# 130-6090-8385
           R                                                   S
                                                             A
                   TEL 011865758558966 / FAX 011865758413780 T E

                 REF NUMBER                                  SHIP VIA                     CUST PO #                                   SCHEDULED ARRIVAL            STAMPED DATE
                                             Truck                                                                                    12/03/17                 12/12/17
                 CONTRACT #                          CONTRACT MODEL              CONTRACT DATE                                             DAYS IN TRANSIT         DAYS LATE        ∩
      42905                                  OFF-SHORE                        11/03/17                                                39                       9
      N                                                                                                                                                INTENDED FOR
      O     
      T                                                                                                                              SALES ORDER # 296624
      E     
      S                                                                                                                              Fashion & People-DBA- Trac


☞ TOTAL IN RCVG                                      :         1,028       QTY                                             9        PIECES          5    BOXES            1    LOTS


   ACTUAL RECEIVED                                   :                     QTY                                                      PIECES               BOXES                 LOTS
                   {checked by hand}




➊ Style # :             2320-20419           Color : 431CHMBRAY/POPP
           Desc :       97%C 3%SP STRETCH POPLIN PRINT 115GSM C:57/58"
                                             Vendor # ZX-35-2-B
           BOX #        LOT #       ROLL #      QUANTITY                  ROLL-ID
    1                           1                        0               30564049
    1                           2                        0               30564050
    2                           3                        0               30564051
    2                           4                        0               30564052
    3                           5                        0               30564053
    3                           6                        0               30564054
    4                           7                        0               30564055
    4                           8                        0               30564056
    5                           9                        0               30564057
                TOTAL     ➫     9                        0




                                                                        User : Adrineh Mokhtarias                                                   TOTAL:
                        ATTORNEY EYES ONLY                                                                                                                NB 678
                                                                        October 12, 2021 @ 12:36:51 PM
                                                                        MOD2 ID # 1353425
prlogall                                                                          2021   MOD2 INC.
                        Case 2:20-cv-11181-CAS-JPR Document 66-4 Filed 11/01/21 Page
                                                                              E L E 9CofT14R Page
                                                                                             O NIDI                                                                      C
                                                         #:1231
                                                                         Exhibit
                                                                                                                               RECEIVE GOODS




                                                                                               exhibitsticker.com
                                                                                                                    +8T19W


                                                                                                                               #76793
                                                                     Neman 24                                                  DATE : 12/20/17
                                                                        10/20/2021 ME
                                                                                                                               TYPE : DETAILED
1525 South Broadway Street Los Angeles, Ca 90015                                                                                             Tel: (213) 765-0100 Fax: (213) 765-0220
                                                                                                                                                                   info@neman.com

                                                               W             R
           S                                                                 E
           U                                                   A             C
           P                                                   R             E
                                                               E             I
           P                        HAOXING COUNTY,            H             V
                                                                                          Long Binh, Bien Hoa,
           L
           I       ZHEJIANG PROVINCE, CHINA                    O             E            Dong Nai, Vietnam [Cat Lai Port]
                                                               U             D
           E       ZIPCODE: 312030                                                        011-84-616-293446
           R                                                   S
                                                             A
                   TEL 011865758558966 / FAX 011865758413780 T E

                 REF NUMBER                           SHIP VIA                     CUST PO #                                   SCHEDULED ARRIVAL             STAMPED DATE
                                          BOAT                                                                                 12/05/17                 12/19/17
                 CONTRACT #                   CONTRACT MODEL              CONTRACT DATE                                             DAYS IN TRANSIT          DAYS LATE       ∩
      42980                               OFF-SHORE                    11/14/17                                                36                       15
      N                                                                                                                                         INTENDED FOR
      O     
      T                                                                                                                       SALES ORDER # 297018
      E     
      S                                                                                                                       W & W Concept Inc-DBA- Perseption


☞ TOTAL IN RCVG                               :         1,561       QTY                                             14       PIECES          7    BOXES            1    LOTS


   ACTUAL RECEIVED                            :                     QTY                                                      PIECES               BOXES                 LOTS
                   {checked by hand}




➊ Style # :             2320-20419           Color : 431CHMBRAY/POPP
           Desc :       97%C 3%SP STRETCH POPLIN PRINT 115GSM C:57/58"
                                             Vendor # ZX-35-2-B
           BOX #        LOT #    ROLL #     QUANTITY               ROLL-ID
    1                           1                 0               30575475
    1                           2                 0               30575476
    2                           3                 0               30575477
    2                           4                 0               30575478
    3                           5                 0               30575479
    3                           6                 0               30575480
    4                           7                 0               30575481
    4                           8                 0               30575482
    5                           9                 0               30575483
    5                           10                0               30575484
    6                           11                0               30575485
    6                           12                0               30575486
    7                           13                0               30575487
    7                           14                0               30575488
                TOTAL     ➫     14                0




                                                                 User : Adrineh Mokhtarias                                                   TOTAL:
                        ATTORNEY EYES ONLY                                                                                                         NB 679
                                                                 October 12, 2021 @ 12:35:36 PM
                                                                 MOD2 ID # 1354676
prlogall                                                                   2021   MOD2 INC.
           Case 2:20-cv-11181-CAS-JPR Document 66-4 Filed 11/01/21 Page 10 of 14 Page ID
Nea Brothers &Assoc., Inc.                  #:1232
                                                                                               Exhibit
                                                                                                                                           ~INVOICE




                                                                                                                   exhibitsticker.com
                                                                                                                                            HI'"




                                                                                           Neman 25
                                                                                                                                                          No.      384061
                                                                                             10/20/2021 ME                                              Date: 12/19/17

1525 South Broadway Street Los Angeles, Ca 90015                                                                                                           Tel: (213) 765-0100 Fax: (213) 765-0220
                                                                                                                                                                                 info@neman.com

     s                                                                                                         S
     o                                                                                                         H
     L                                                                                                         I
     D     Vernon Ca, 90058                                                                                    p
           TEL: (323) 859-8771 1 FAX: (323) 859-8778                                                                                    Panyu Dist, GuangZhou City, China
     T
     o                                                                                                        '6                        Simon H/P# 130-6090-8385
                                                                                                                                        TEL: 13310882539
      Ship Date:               12/19/17                                                               Ship Via:                             LOCAL[CHINA TO CHINA]
 Customer PO # :               41123                                                              Salesperson:                              TONI
  Sales Order # :              297396                                                                   Name:
         Terms:                Net 60                                                            Dept/Division :
  Packing List # :             326761                                                                Attention:


 232 0-20 4 1 9                    434IBLOE/FUS CHI                  97 %C 3%SP STRETCH POPL I N PRINT                                             10     1, 005
                                                                     1 15GSM C : 5 7 /5 8" 58 /
                                                                                                          Total:                                   10     1,005




                             APPROVAL # jcb '
    This account is due and payable to
    FTC Commercial Corp. Payment of this account must be
    made in Par U.S. Funds directly to FTC Commercial Corp.,
    P.O. Box 8295, Pasadena, CA 91109-8295
    If this bill is not found to be correct in all respects. they must be
    notified at once.



                                                                            WE ARE NOT RESPONSIBLE                                                      Subtotal:
                                                                            FOR ANY GOODS THAT
                                                                            HA VE BEEN CUT, DYED,                                                        Freight:
                                                                            OR PRINTED.
                                                                                                                                                        TOTAL:
 1. CLAIMS . Goods mUsll)e counted upon receipt. Culling ticket Is not proof of shortage . We are not responsible for any goods after garment dying. All claims or derrands
 for defective merchandise must be made n writing by certified mail wfthln 10 days of receipt goods. Failure to give such notice shall constitute unqualified acceptance
 and waiver of all such claims by buyer. Wrillen return au thorization is required by seller for returns. Any errors in items or price must be reported with'in 5 days,
 2. TESTING OF GOODS .1\ is the buyer's responsibillly to test and sample the goods received before cu\Ung to meet specific requirements. performance standards, or applications
 especially for color·fastness. shrinkage, sewable. stretch, weight/yield. and general appearance. This fabric does not meet the flammability standards for childrens sleepwear.
 Absolutely no returns will be accepted or allowances made after goods have been cut or altered from original delivered form . Do not mix dye lots.
 3. CASUAL TIES - Goods delivered throughcut common carriers or sent via parcel post are at the risk of buyer. In no event shall the seller be liable for loss of profits , late deliveries
 damages for breach of contract by buyer. or other consequential or contingent losses.
 4. WARRANTI ES -Seller makes no warranty. either express or implied, of merchantability or of fitness of goods for any specific purpose lmles's e)(pressly speCified.
 5. PAYMENT · Payments are due within time period specified on j[lvoice. lime being of the essance. Upon failure of the buyer to make timely payments. buyer agrees to pay
 any and all cost of colleclion and litigation. Includmg but notllmiled to altorney fees and Inlerest at the ra te of 1.5% per month .


             ATTORNEY EYES ONLY                                                                                                                                 NB 338
                                            ••• NO RETURNS ACCEPTED WITHOUT PRIOR AUTHORIZATION BY SELLER •••
                     Case 2:20-cv-11181-CAS-JPR Document 66-4 Filed 11/01/21 Page 11 of 14 Page ID
                                                      #:1233                         INVOICE # 378432
                                                            Exhibit




                                                                                                                                                                        exhibitsticker.com
                                                                                      CUSTOMER PO # PAGE

                                                                                                                                                                                                            335882                                            1 1
                                                                                                                                     Neman 26                                                                        DATE                           DUE DATE
                                                                                                                                        10/20/2021 ME
                                                                                                                                                                                                                 08/03/17                       08/13/17
1525 South Broadway Street Los Angeles, Ca 90015                                                                                                                                                        Tel: (213) 765-0100 Fax: (213) 765-0220
                                                                                                                                                                                                                              info@neman.com


S                                                                                                                                 S
O                                                                                                                                 H
L                                                                                                                                 I
D                                                                                                                                 P
            San Francisco, CA 94103
T
O           ☎   (323) 266-4561 / FAX: (415) 626-6649                                                                              T
                                                                                                                                  O
                                                                                                                                            Zhongshan City , China


                    NAME                                   DEPT/DIVISION                                ATTENTION                                     TERMS                                        SHIPPED VIA                         TOTAL PCS
                                                                                                                                      Net 10                                                 STO                                              1
              INVOICE DATE                                    CUST PO #                              BILL OF LADING                             SALES ORDER #                                      SALESPERSON                       APPROVED BY
                 08/03/17                      335882                                       402609749778                              291572                                                 SEAN
             SHIPPING DATE                                PACKING SLIP #                                APPROVAL #                       FREIGHT METHOD/TERMS                                (650) 931-4818
                 08/03/17                      321110                                       fe                                        Prepaid                                                spgtextiles@gmail.com
                                                                                                                                                                                                                           X
                                                                                                                                                                                                                     UNIT
            STYLE NO.                                       COLOR                                                     DESCRIPTION                                                                  QTY.             PRICE                   AMOUNT
    337-20419PS                                 143NAVY/AZALEA                               100%Rayon Challis PreShrunk,                                                                                 10
                                                                                             125Cutble, 55/56" 57/58"




                                                                                                                                      Y
                                                                                                                                               Subtotal :                                                 10



                                                                                                                                    P
                                                                                                                                     Freight & Handling :




                                                                                                                                 CO
                                                                                                                                                TOTAL :




                                                                                          ILE -
                                                                             F


    1. CLAIMS - Goods must be counted upon receipt. Cutting ticket is not proof of shortage. We are not responsible for any goods after garment dying. All claims or demands for defective merchandise must be made in writing by certified mail within
    5 days of receipt goods. Failure to give such notice shall constitute unqualified acceptance and waiver of all such claims by buyer. Written return authorization is required by seller for returns. Any errors in items or price must be reported within 5 days.
    2. TESTING OF GOODS - It is the buyer’s responsibility to test and sample the goods received before cutting or altering to meet specific requirements, performance standards, or applications especially for color-fastness, shrinkage, sewable, stretch,
    weight/yield, and general appearance. This fabric does not meet the flammability standards for childrens sleepwear.
                  Absolutely no returns will be accepted or allowances made after goods have been cut or altered from original delivered form. Do not mix dye lots.
    3. CASUALTIES - Goods delivered throughout common carriers or sent via parcel post are at the risk of buyer. In no event shall the seller be liable for loss of profits, late deliveries, damages for breach of contract by buyer, or other consequential
    or contingent losses.
    4. WARRANTIES - Seller makes no warranty, either express or implied, of merchantability or of fitness of goods for any specific purpose unless expressly specified.
    5. PAYMENT - Payments are due within time period specified on invoice, time being of the essence. Upon failure of the buyer to make timely payments, buyer agrees to pay any and all cost of collection and litigation, including but not limited to
    attorney fees and interest at the rate of 10% per year.
    6. JURISDICTION - California has jurisdiction over any claim that arises from this transaction. Any dispute that arises from this transaction shall be governed by laws of the State of California.


                       ATTORNEY EYES ONLY                                                                                                                                                                        NB 417
                                              Copyright is owned by Neman Brothers & Assoc., Inc. and is protected under United States and International Copyright Law. All rights reserved.
                                                                           *** NO RETURNS ACCEPTED WITHOUT PRIOR AUTHORIZATION BY SELLER ***

 prinviss                                                                                                                    2021    MOD2 INC.
                                                Case 2:20-cv-11181-CAS-JPR Document 66-4 Filed 11/01/21 Page 12 of 14 Page ID
                                                                               "'.....,.,.   •••   ~",.   II   -y-y • •   V



                                                                                 #:1234
  . . . BrvIhen &Assoc., Inc.
           ~                                                                                                                                        PURCHASE CONTRACT
ATTORN


   neman [1]                                                                                                                                                   # 44770
   1525 South Broadway Street                                                                                                                                 07/27/18
   Los Angeles, Ca 90015                                                                                                                                       REVISED
  Tel : (213) 765·0100 / Fax : (213) 765·0220

                                                                                                                                                                             Exhibit




                                                                                                                                                                                             exhibitsticker.com
  SUPPLIER                                                                                                     SHIPTO


                                                                                                                                                                           Neman 30
                                                                                                                                                                            10/20/2021 ME
                   ,SHAOXING COUNTY,                                                                           HUNG YEN PROVINCE, VIETNAM .

   ZHEJIANG PROVINCE, CHINA                                                                                    Port Of Discharge: Hai Phong Port
YES ONLY




   ZIPCODE: 312030                                                                                             MR : DAO 0912.278.856/0934.600.455

   Tel: 85589667 / Fax: 84137806                                                                               Tel: 852777/ Fax: 852666



  [. SHIPPING DATE (XCO)                  AGENT/SALESPERSON                   TERMS                                 SHIP VIA         fDEST CITYJPORT        I
   09/13/18                         HOUSE ACCOUNT               TIT                                            BOAT                      VIETNAM

                                                 SALES ORDER                  L/ C#                                                 -I SHIPPING TE;~S       I
                                    306345                      0                                                                        CIF
              SlYLE#                               COLOR                   DESCRIPTION                             QVANTllY          [         UNIT PRICE   ~I   AMOUNT_



                                                                98%POLY 2%SP BUBBLE CREPE
   187-21282                        351PINK/YELLOW                                                                             1500
                                                                 PRINT 120GSM C:57/58 58/60"


                                                                                                                                                             f
                                                                198%POLY 2%SP BUBBLE CREPE
   187-21282                        531LTMUSTARD/MAUVE                                                                         1500                                                     9<

                                                                 PRI NT 120GSM C:57/58 58/60"
                                                                                                                                                                                     "'
NB444




                                                                 98%POLY 2%SP BUBBLE CREPE
   187-21282                        961BLK/PU RPLE                                                                             1500
                                                                 PRINT 120GSM C:57/58 58/60"



                                                                                                                               4500
                                                                  ..... .,...... . . . . . . . . . ....,..   II   -.--.-.   •   V

                                      Case 2:20-cv-11181-CAS-JPR Document 66-4 Filed 11/01/21 Page 13 of 14 Page ID
                                                                       #:1235
  NeMa
                                                                                                                                    PURCHASE CO~TRACT
ATTORN




  Allowance   1/- 3%

   NO PAYMENT WILL BE MADE UNLESS THIS CONTRACT# APPEARS ON THE INVOICE
YES ONLY
NB445




               - '- ' - - - "   ---- ....
                     Case 2:20-cv-11181-CAS-JPR Document 66-4 Filed 11/01/21 Page 14 of 14 Page ID
                                                      #:1236                         INVOICE # 395380
                                                            Exhibit




                                                                                                                                                                       exhibitsticker.com
                                                                                      CUSTOMER PO # PAGE

                                                                                                                                                                                                            42171                                             1 1
                                                                                                                                  Neman 32                                                                           DATE                           DUE DATE
                                                                                                                                       10/20/2021 ME
                                                                                                                                                                                                                 09/13/18                       11/12/18
1525 South Broadway Street Los Angeles, Ca 90015                                                                                                                                                        Tel: (213) 765-0100 Fax: (213) 765-0220
                                                                                                                                                                                                                              info@neman.com

S                                                                                                                                 S
O                                                                                                                                 H
L                                                                                                                                 I         MINH TAN COMMUNE, PHU CU DISTRICT,
D                                                                                                                                 P
             LOS ANGELES, CA 90015                                                                                                          HUNG YEN PROVINCE, VIETNAM.
T            1881 Alpha rd glendale ca 91208                                                                                      T         Port Of Discharge: Hai Phong Port
O
              ☎  (213) 747-0307 / FAX: (213) 747-0307                                                                             O
                                                                                                                                            MR: DAO 0912.278.856/0934.600.455
                                                                                                                                            DIAL PREFIX: 84-02213
                                                                                                                                            TEL: 852777 / FAX: 852666
                    NAME                                   DEPT/DIVISION                                ATTENTION                                     TERMS                                        SHIPPED VIA                         TOTAL PCS
                                                                                                                                      Net 60                                                BOAT                                             42
               INVOICE DATE                                   CUST PO #                              BILL OF LADING                             SALES ORDER #                                  SALESPERSON                           APPROVED BY
                 09/13/18                      42171                                        0                                         306345                                                RACHEL YANG
               SHIPPING DATE                              PACKING SLIP #                                APPROVAL #                       FREIGHT METHOD/TERMS                               (213) 327-8732
                 09/13/18                      337979                                       jcb                                       Prepaid                                               rachel@neman.com
                                                                                                                                                                                                                           X
                                                                                                                                                                                                                     UNIT
              STYLE NO.                                     COLOR                                                     DESCRIPTION                                                              QTY.                 PRICE                   AMOUNT
    187-21282                                   531LTMUSTARD/MAUVE 98%POLY 2%SP BUBBLE CREPE                                                                                                         1,592
                                                                                             PRINT 120GSM C:57/58 58/60"




                                                                                                                                                      Y
    187-21282                                   351PINK/YELLOW                               "                 "              "              "                                                       1,560




                                                                                                                                                    P
    187-21282                                   961BLK/PURPLE                                "                 "              "              "                                                       1,662


            This account is due and payable to
                                                                 Acct: 6580




                                                                                              - C                                                 O
                                                                                                                                               Subtotal :
                                                                                                                                     Freight & Handling :
                                                                                                                                                TOTAL :
                                                                                                                                                                                                      4,814




                                                                                          ILE
            FTC Commercial Corp. Payment of this account must be
            made in Par U.S. Funds directly to FTC Commercial Corp.,
            P.O. Box 8295, Pasadena, CA 91109-8295




                                                                             F
            If this bill is not found to be correct in all respects, they must be
            notified at once.




    1. CLAIMS - Goods must be counted upon receipt. Cutting ticket is not proof of shortage. We are not responsible for any goods after garment dying. All claims or demands for defective merchandise must be made in writing by certified mail within
    5 days of receipt goods. Failure to give such notice shall constitute unqualified acceptance and waiver of all such claims by buyer. Written return authorization is required by seller for returns. Any errors in items or price must be reported within 5 days.
    2. TESTING OF GOODS - It is the buyer’s responsibility to test and sample the goods received before cutting or altering to meet specific requirements, performance standards, or applications especially for color-fastness, shrinkage, sewable, stretch,
    weight/yield, and general appearance. This fabric does not meet the flammability standards for childrens sleepwear.
                  Absolutely no returns will be accepted or allowances made after goods have been cut or altered from original delivered form. Do not mix dye lots.
    3. CASUALTIES - Goods delivered throughout common carriers or sent via parcel post are at the risk of buyer. In no event shall the seller be liable for loss of profits, late deliveries, damages for breach of contract by buyer, or other consequential
    or contingent losses.
    4. WARRANTIES - Seller makes no warranty, either express or implied, of merchantability or of fitness of goods for any specific purpose unless expressly specified.
    5. PAYMENT - Payments are due within time period specified on invoice, time being of the essence. Upon failure of the buyer to make timely payments, buyer agrees to pay any and all cost of collection and litigation, including but not limited to
    attorney fees and interest at the rate of 10% per year.
    6. JURISDICTION - California has jurisdiction over any claim that arises from this transaction. Any dispute that arises from this transaction shall be governed by laws of the State of California.


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                                                                           *** NO RETURNS ACCEPTED WITHOUT PRIOR AUTHORIZATION BY SELLER ***

 prinviss                                                                                                                    2021    MOD2 INC.
